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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA
                                   AT ANCHORAGE

BRISTOL BAY ECONOMIC
DEVELOPMENT CORPORATION, et al.,                 CASE NO. 3:19-CV-00265-SLG

                       Plaintiffs,
               v.

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the U.S.
Environmental Protection Agency Region 10,
et al.,

                       Defendants,

Bristol Bay Econ. Dev. Corp. v. Pirzadeh,
3:19-cv-00265-SLG (consolidated)
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              And

STATE OF ALASKA,

                Intervenor-Defendant.
SALMONSTATE, et al.,                             CASE NO. 3:19-CV-00267-SLG

                     Plaintiffs,

              v.

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the U.S.
Environmental Protection Agency Region 10,
et al.,

              Defendants.
TROUT UNLIMITED,                                 CASE NO. 3:19-CV-00268-SLG

                     Plaintiffs,
              v.

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the U.S.
Environmental Protection Agency Region 10,
et al.,

                     Defendants.


          DEFENDANTS’ MOTION FOR REMAND WITH VACATUR




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                                       INTRODUCTION
   This case involves challenges to the decision by the Regional Administrator for the

United States Environmental Protection Agency (“EPA”), Region 10, to withdraw a

Proposed Determination under Clean Water Act (“CWA” or “Act”) section 404(c), 33

U.S.C. § 1344(c), regarding the Pebble deposit in the Bristol Bay region of Alaska. That

agency action should be remanded with vacatur. EPA has acknowledged that, in making the

withdrawal decision, it did not address the “unlikely to have an unacceptable adverse effect”

standard that the Ninth Circuit subsequently held must be met when EPA withdraws a

proposed determination. In light of the Ninth Circuit’s decision, EPA’s omission was

serious and fundamental. In addition, the disruptive consequences that would result from

vacatur, if any, would be minimal. Furthermore, vacatur would not be likely to result in

environmental harm. Instead, vacatur may help avoid environmental harm.

                                         BACKGROUND
   Congress passed the Clean Water Act in 1972 to “restore and maintain the chemical,

physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The Act sets

several goals, including attainment and preservation of “water quality which provides for the

protection and propagation of fish, shellfish, and wildlife . . . .” Id. § 1251(a)(2). Section 404

of the Act authorizes the U.S. Army Corps of Engineers (“Corps”) to issue permits for

discharges of dredged or fill material. 33 U.S.C. § 1344(a), (e). The Act also provides that

the Corps’ permitting authority under section 404 is subject to EPA’s authority under

section 404(c), which authorizes EPA to prohibit the specification of, or deny or restrict the




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use of, any defined area as a disposal site for dredged or fill material. 33 U.S.C. § 1344(b),

(c).1

     EPA’s section 404(c) regulations establish a multi-step process for EPA to evaluate

potential effects and determine whether to make a 404(c) final determination to prohibit,

deny, or restrict disposal in a defined area. See 40 C.F.R. pt. 231. The first step in the

process is that the EPA Regional Administrator (“RA”) notifies the Corps’ District

Engineer, the owner of the site, and the permit applicant, if any, that she intends to issue a

public notice of a proposed determination. 40 C.F.R. § 231.3(a)(1). If the RA proceeds to

publish a proposed determination, then, after a process for public involvement, the RA must

either withdraw the proposed determination or prepare a recommended determination to

prohibit or restrict the area for specification. 40 C.F.R. § 231.3, 231.4, 231.5.

     If the RA decides to withdraw the proposed determination, the EPA Administrator has

the option to review the withdrawal. Id. § 231.5(c). If the Administrator decides against

review, then the RA must publish a notice of the withdrawal, which “shall constitute final

agency action.” Id. § 231.5(c). On the other hand, if the RA decides not to withdraw the



1   Section 404(c) provides in relevant part:

         The [EPA] Administrator is authorized to prohibit the specification (including
         the withdrawal of specification) of any defined area as a disposal site, and he is
         authorized to deny or restrict the use of any defined area for specification
         (including the withdrawal of specification) as a disposal site, whenever he
         determines, after notice and opportunity for public hearings, that the discharge
         of such materials into such area will have an unacceptable adverse effect on municipal
         water supplies, shellfish beds and fishery areas (including spawning and
         breeding areas), wildlife, or recreational areas. . . .

33 U.S.C. § 1344(c) (emphasis added).
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proposed determination and instead prepares a “recommended determination,” she must

promptly forward the recommended determination to EPA Headquarters for review. Id.

§ 231.5(c). After engaging in required consultation, EPA Headquarters must then make a

final decision affirming, modifying, or rescinding the RA’s recommended determination, and

publish notice of that decision. Id. § 231.6.

   In this matter, EPA Region 10 initiated the CWA section 404(c) process in 2014, before

Pebble Limited Partnership (“PLP”) submitted a section 404 permit application. See

Proposed Determination to Restrict the Use of an Area as a Disposal Site; Pebble Deposit

Area, Southwest Alaska, 79 Fed. Reg. 42,314, 42,315-18 (July 21, 2014). EPA published the

Proposed Determination in July of that year. Id. at 42,314. After PLP filed a lawsuit

challenging EPA’s section 404(c) process under the Federal Advisory Committee Act, EPA

and PLP entered into a settlement in 2017 in which EPA agreed, inter alia, to “initiate a

process to propose to withdraw the Proposed Determination.” Notification of Decision to

Withdraw Proposed Determination to Restrict the Use of an Area and a Disposal Site;

Pebble Deposit Area, Southwest Alaska, 84 Fed. Reg. 45,749, 45,750 (Aug. 30, 2019). In

July 2017, EPA Region 10 proposed to withdraw the Proposed Determination. Id. at 45,750;

see Proposal to Withdraw Proposed Determination to Restrict the Use of an Area as a

Disposal Site; Pebble Deposit Area, Southwest Alaska, 82 Fed. Reg. 33,123 (July 19, 2017).

   In December 2017, PLP submitted a CWA section 404 permit application to the Corps.

84 Fed. Reg. at 45,750. The next month, EPA Region 10 issued a notice that announced a

“suspension” of the proceeding to withdraw the Proposed Determination. Id.; see

Notification of Decision Not to Withdraw Proposed Determination to Restrict the Use of


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an Area as a Disposal Site; Pebble Deposit Area, Southwest Alaska, 83 Fed. Reg. 8,668 (Feb.

28, 2018). In August 2019, however, EPA ended that suspension and withdrew the

Proposed Determination. 84 Fed. Reg. 45,749. In the notice accompanying its action, EPA

stated that it was not “basing its decision-making on technical consideration or judgments

about whether the mine proposal will ultimately . . . result[] in ‘unacceptable adverse effects’

under CWA section 404(c).” Id. at 45,756.

   Plaintiffs filed these cases challenging the withdrawal decision in October 2019, and this

Court consolidated the cases shortly thereafter. See ECF 13. On December 10, 2019, we

moved to dismiss the cases. ECF 36. We argued that the withdrawal decision was

“committed to agency discretion by law” under 5 U.S.C. § 701(a)(2). Id at 21-25. In support

of that position, we argued that there was “no law to apply,” and specifically maintained that

the “unacceptable adverse effect” language in section 404(c) and EPA’s regulations did not

apply to that decision. See, e.g., id. at 26-31; ECF 42 at 5-10. In the motion, we expressly

acknowledged that EPA Region 10’s notice of withdrawing the Proposed Determination

stated that the Agency was not basing its decision on technical judgments about whether the

mine proposal addressed in the Proposed Determination would result in an “unacceptable

adverse effect.” ECF 36. at 14-15; see 84 Fed. Reg. at 45,756. On March 20, 2020, we filed

our merits brief in this matter. ECF 64. In that brief, we again acknowledged that, in

making the challenged withdrawal decision, EPA Region 10 had not made any judgments

about whether the mine proposal would result in an “unacceptable adverse effect.” Id. at 11.

   On April 17, 2020, this Court granted our motion to dismiss and entered final judgment

dismissing the matter. ECF Nos. 75, 76. On May 29, 2020, Trout Unlimited filed a notice


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of appeal. ECF 77. While that appeal was pending, the Corps denied PLP’s application for

a section 404 permit. See Correspondence, Trout Unlimited v. Pirzadeh, No. 20-35504 (9th Cir.

Nov. 27, 2020), Dkt. 32 (“Ninth Circuit Dkt. 32”). PLP filed an administrative appeal, and

the Corps has stated that it anticipates that the appeal will be decided after this calendar year.

See https://www.pod.usace.army.mil/Media/News-Releases/Article/2637978/usace-pod-

receives-pebble-mine-appeal-administrative-record/ (last visited September 28, 2021).

   On June 17, 2021, the Ninth Circuit affirmed in part and reversed in part. The Ninth

Circuit rejected our argument that there was “no law to apply” under EPA’s regulations.

The Ninth Circuit specified that, under those regulations, the Regional Administrator may

“withdraw a proposed determination only if the discharge of materials would be unlikely to

have an unacceptable adverse effect.” Trout Unlimited v. Pirzadeh, 1 F.4th 738, 757 (9th Cir.

2021) (emphasis in original). The Ninth Circuit remanded the matter for further

proceedings to determine whether EPA’s withdrawal of its Proposed Determination was

“arbitrary, capricious, an abuse of discretion, or contrary to law, 5 U.S.C. § 706(2)(A).” Id. at

744.

   On August 12, 2021, this Court issued an Order that required the parties to “file a joint

proposal or separate proposals as to the scheduling of further briefing and/or proceedings in

this matter.” ECF 83 at 2. On September 9, 2021, we filed the Joint Proposal for Further

Proceedings. ECF 95. In the Joint Proposal, we notified this Court that we planned to file a

motion for remand with vacatur because, inter alia, EPA has acknowledged that it did not

address the standard that the Ninth Circuit subsequently determined must be met for




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withdrawals of proposed determinations. Id. at 3-4. Later that day, this Court established

the briefing schedule set forth in the Joint Proposal. ECF 97.

                                          ARGUMENT
I. The Court Should Remand This Matter to EPA.

   “A federal agency may request remand in order to reconsider its initial action.” Cal.

Cmtys. Against Toxics v. EPA, 688 F.3d 989, 992 (9th Cir. 2012) (per curiam). A court’s

authority to remand a decision without judicial consideration is vested in its equitable

powers. Ford Motor Co. v. NLRB, 305 U.S. 364, 373 (1939); see also Loma Linda Univ. v.

Schweiker, 705 F.2d 1123, 1127 (9th Cir. 1983) (reviewing court has inherent power to

remand a matter to an administrative agency). This Court possesses ample discretion to

grant a voluntary remand, and voluntary remands to allow for reconsideration or revision of

challenged agency action are common in the Ninth Circuit. See, e.g., Nat’l Ass’n of Home

Builders v. Norton, 340 F.3d 835, 840 (9th Cir. 2003) (discussing district court’s granting of

motion for voluntary remand); Chang v. United States, 327 F.3d 911, 918 n.4 (9th Cir. 2003)

(discussing proposal for INS to take a voluntary remand); Boise Cascade Corp. v. EPA, 942

F.2d 1427, 1431 (9th Cir. 1991) (Ninth Circuit granted EPA’s motion for a voluntary

remand); Covelo Indian Cmty. v. FERC, 895 F.2d 581, 584 (9th Cir. 1990) (Ninth Circuit

granted FERC a voluntary remand).

   Courts generally grant a request for remand unless “the agency’s request is frivolous or

made in bad faith.” Cal. Cmtys. Against Toxics, 688 F.3d at 992. Here, EPA’s request for

remand has merit and is made in good faith. As discussed above, EPA acknowledged in the

withdrawal notice and in two separate briefs before this Court that EPA did not base its


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withdrawal decision on whether the discharges addressed in the Proposed Determination

were likely to have an “unacceptable adverse effect.” ECF 64 at 11; ECF 36 at 14-15; see 84

Fed. Reg. at 45,756. The Ninth Circuit’s subsequent decision then clarified that, under

EPA’s regulations, the Regional Administrator may “withdraw a proposed determination only

if the discharge of materials would be unlikely to have an unacceptable adverse effect.” Trout

Unlimited, 1 F.4th at 757. In the Joint Proposal, EPA again acknowledged that it did not

address the “unlikely to have an unacceptable adverse effect” standard that the Ninth Circuit

subsequently determined must be met for withdrawal of a proposed determination. ECF 95

at 3-4. EPA has been forthcoming and has acknowledged throughout these proceedings

that its withdrawal decision did not address the relevant standard. Accordingly, there is no

indication that EPA’s request is frivolous or made in bad faith, and remand is appropriate so

that EPA may reconsider its initial action. See Cal. Cmtys. Against Toxics, 688 F.3d at 992.2

II. The Court Should Vacate EPA’s Withdrawal Decision.

    In the Ninth Circuit, vacatur is the presumptive remedy for agency actions that are faulty

or invalid on the merits, and remands without vacatur are reserved for “limited



2  Furthermore, because EPA failed to address the standard that applies to the withdrawal
decision, EPA has identified “substantial and legitimate” concerns with the challenged
action. SKF USA Inc. v. United States, 254 F.3d 1022, 1029 (Fed. Cir. 2001) (“[I]f the agency’s
concern [with the challenged action] is substantial and legitimate, a remand is usually
appropriate.”). For similar reasons, remand would support judicial economy because
continuing to brief the merits and requiring this Court to make a decision would be a waste
of the parties’ and this Court’s resources. See Nat. Res. Def. Council v. United States Dep’t of
Interior, 275 F. Supp. 2d 1136, 1141 (C.D. Cal. 2002). Likewise, remand will not prejudice
any party because it is the appropriate next step given EPA’s fundamental error in not basing
its withdrawal decision on the standard that the Ninth Circuit identified. Of course, any
party aggrieved by any final agency action EPA takes after remand will have the opportunity
to challenge it.
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circumstances.” Pollinator Stewardship Council v. U.S. Env’t. Prot. Agency, 806 F.3d 520, 532 (9th

Cir. 2015) (quoting Cal. Cmtys. Against Toxics, 688 F.3d at 994); see also 5 U.S.C. § 706(2)

(authorizing courts to “set aside” agency actions that are arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law). Specifically, remands without vacatur

are appropriate only “when equity demands.” Pollinator Stewardship Council, 806 F.3d at 532

(quoting Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405 (9th Cir. 1995)); see also Se.

Alaska Conservation Council v. U.S. Forest Serv., 468 F. Supp. 3d 1148, 1149-50 (D. Alaska

2020).

   In determining whether vacatur is appropriate, courts must “weigh the gravity of the

errors committed by the agency against the disruption that vacatur would cause.” Se. Alaska

Conservation Council, 468 F. Supp. at 1151; see also Cal. Cmtys. Against Toxics, 688 F.3d at 992

(“Whether agency action should be vacated depends on how serious the agency’s errors are

and the disruptive consequences of an interim change that may itself be changed.”) (internal

quotation marks omitted); All. for the Wild Rockies v. Savage, 375 F. Supp. 3d 1152, 1155-56

(D. Mont. 2019) (courts “must weigh the seriousness of the agency’s errors against the

disruptive consequences of vacatur”) (internal quotations and citation omitted). “Put

differently, courts may decline to vacate agency decisions when vacatur would cause serious

and irremediable harms that significantly outweigh the magnitude of the agency’s error.” Se.

Alaska Conservation Council, 468 F. Supp. 3d at 1150 (internal quotation marks omitted).

   When deciding whether to vacate EPA actions, the Ninth Circuit “consider[s] whether

vacating a faulty [action] could result in possible environmental harm.” Pollinator Stewardship

Council, 806 F.3d at 532. Both the Ninth Circuit and this Court have focused on the


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environmental effects of vacatur when making vacatur decisions. In California Communities

Against Toxics, the Ninth Circuit remanded the agency action without vacatur, in part because

vacatur was likely to delay construction of a power plant, which would have increased air

pollution because customers would use more polluting diesel generators in the event of

blackouts. 688 F.3d at 993-94. Similarly, in Idaho Farm Bureau Fed’n v. Babbitt, the Ninth

Circuit did not vacate the agency’s decision, even though the agency’s error was significant,

because vacatur could have wiped out a species of snail. 58 F.3d at 1405. In contrast, in

Pollinator Stewardship Council, the Ninth Circuit vacated EPA’s action where leaving the action

in place risked more potential environmental harm than vacating it. 806 F.3d at 532-33. In

addition, this Court vacated portions of an Environmental Impact Statement, in addition to

the related portions of the associated Record of Decision, because the serious errors in the

EIS and the decision outweighed the economic harm caused by partial vacatur. Se. Alaska

Conservation Council, 468 F. Supp. 3d at 1155.

   A. The Error in EPA’s Withdrawal Decision is Serious.

   The seriousness of the error here is evident. On appeal, the Ninth Circuit held that

EPA’s regulations limit the Regional Administrator’s discretion to withdraw a proposed

determination to situations in which “the discharge of materials would be unlikely to have an

unacceptable adverse effect.” Trout Unlimited, 1 F.4th at 757. In EPA’s notice of the

withdrawal, in two briefs filed with this Court, and in the Joint Proposal, EPA acknowledged

that it did not address that standard. ECF Nos. 95 at 3-4; 64 at 11; 36 at 14-15; see 84 Fed.

Reg. at 45,756. EPA’s omission was not “limited in scope [or] severity.” All. for the Wild

Rockies, 375 F. Supp. 3d at 1156. Instead, EPA failed entirely to address the standard that


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governs the challenged action here. See Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983) (agency action is arbitrary and capricious, in violation of the

Administrative Procedure Act, 5 U.S.C. § 706, if the agency relied on factors that it should

not have considered or “entirely failed to consider an important aspect of the problem”).

EPA’s omission was fundamental and “make[s] it unlikely that the same [decision] would be

adopted on remand.” Pollinator Stewardship Council, 806 F.3d at 532; see also Nat’l Fam. Farm

Coal. v. EPA, 960 F.3d 1120, 1144–45 (9th Cir. 2020) (ordering vacatur despite disruptive

consequences where the agency action was characterized by “fundamental flaws”). EPA’s

serious, indisputable error “strongly weigh[s] in favor [of] vacatur.” Se. Alaska Conservation

Council, 468 F. Supp. 3d at 1152; see also Pollinator Stewardship Council, 806 F.3d at 532 (vacating

agency action in part because “on remand, a different result may be reached”).

   B. Any Disruptive Consequences From Vacatur Would be Minimal.

   In this case, the bar for establishing disruptive consequences sufficient to deny EPA’s

request for vacatur is exceedingly high. Even a showing of serious disruptions would not

necessarily be a sufficient basis for leaving the withdrawal decision intact. See, e.g., Nat’l

Family Farm Coal. 960 F.3d at 1144–45 (vacating agency action because of significant legal

errors underlying the decision even though doing so would result in substantial economic

consequences for farmers); Se. Alaska Conservation Council, 468 F. Supp. 3d at 1155 (ordering

vacatur even though it would cause economic harm to the timber industry because the harm

was “not so disruptive and irremediable so as to cause the Court to depart from the APA’s

normal remedy of vacatur”). Here, any disruptive consequences would be minimal and

would not rise to the level required by the Ninth Circuit and this Court.


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   For section 404 permitting purposes, the primary consequence of vacating the

withdrawal (and thereby leaving the Proposed Determination intact) would be to prevent the

Corps from issuing a permit for the project at a site within the area subject to the Proposed

Determination. Under EPA’s and the Corps’ regulations, during the pendency of a section

404(c) proceeding, the Corps may continue to process a section 404 permit application but the

Corps may not issue the permit. 40 C.F.R. § 231.3(a)(2); 33 C.F.R. § 323.6(b). Allowing the

Corps to process but not issue a permit while EPA works through its section 404(c)

proceeding would not be a significant disruption even in normal circumstances. Here,

preventing the Corps from issuing the permit would not cause any real disruption because

the Corps already has denied PLP’s CWA section 404 permit application. See Ninth Circuit

Dkt. 32. Furthermore, the Corps could continue to address PLP’s appeal of that denial.

Indeed, the Corps could even render a final decision on Pebble’s appeal by, for example,

denying the appeal or determining that the Corps should engage in additional processing and

evaluation of the permit application. See 33 C.F.R. §§ 331.9(b), 331.10. Accordingly,

vacating the withdrawal may not disrupt the section 404 permitting process at all and, even if

there were any such disruption, it would be minimal.

   Vacating the withdrawal also would cause minimal, if any, economic harm. As discussed

immediately above, the Corps already denied PLP’s permit application. Vacatur of EPA’s

withdrawal decision simply would revert EPA to the status quo ante, which is an early stage

in EPA’s section 404(c) process. See 40 C.F.R. §§ 231.3, 231.4. In addition, vacatur of

EPA’s withdrawal decision would not result in broad economic consequences to workers or

the public. This case does not involve an ongoing project that supplies a large number of


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jobs. Cf. Cal. Cmtys. Against Toxics, 688 F.3d at 993-94. Construction of the Pebble Mine

project has not even begun, and construction or operation—if it ever takes place—would

not occur for a number of years. In addition to a CWA section 404 permit, PLP would need

to acquire a number of additional federal, state and local permits. Appellees’ Suppl. Excerpts

of R. at S.E.R. 1, 10-21, 24, Trout Unlimited v. Pirzadeh, No. 20-35504 (9th Cir. July 22, 2020),

Dkt. 21. The State of Alaska has estimated that its separate permitting process alone “would

take several years.” Id. at S.E.R. 26.

   In sum, this case simply does not involve the sort of economic harm that the Ninth

Circuit and this Court has required to deny vacatur. Compare Cal. Cmtys. Against Toxics, 688

F.3d at 992-95 (interrupting construction of a power plant due to vacatur would have been

“economically disastrous” because the plant was “a billion-dollar venture employing 350

workers”) with Se. Alaska Conservation Council, 468 F. Supp. 3d at 1155 (ordering vacatur

despite acknowledging that timber industry would suffer economic harm).

   Because both the regulatory and the economic effects of vacatur are speculative or non-

existent, these factors also weigh heavily in favor of vacatur.

   C. Vacatur Would Not Result in Environmental Harm.

   This is not a case in which “vacating a faulty [decision] could result in possible

environmental harm.” Pollinator Stewardship Council, 806 F.3d at 532. As discussed above, the

immediate consequence of vacatur would be to revert to the CWA section 404(c) process

that the withdrawal terminated. See 40 C.F.R. § 231.5(a), (c). EPA’s section 404(c) process is

designed to avoid potential environmental harm. Section 404(c) authorizes EPA to prohibit

the specification of, or deny or restrict the use of, any defined area as a disposal site for


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dredged or fill material to avoid certain unacceptable environmental effects. 33 U.S.C. §

1344(c); see 40 C.F.R. pt. 231. Accordingly, vacating the withdrawal and reverting to EPA’s

section 404(c) process may avoid such harm but vacatur will not result in it. This factor also

counsels heavily in favor of vacatur.

                                        CONCLUSION
   Remand is appropriate here, and EPA’s serious, fundamental omission in the withdrawal

decision significantly outweighs any potential, minimal disruption or harm that might be

caused by vacatur. Accordingly, for the reasons stated above, this Court should grant EPA’s

motion and vacate and remand the withdrawal decision.

                                     Respectfully submitted this 28th day of September 2021.

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